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1                         UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF FLORIDA
2                                PENSACOLA DIVISION
3                        Civil Action No. 3:21-cv-01066
4
5            STATE OF FLORIDA,
6                             Plaintiff,
7
             vs.
8
9            THE UNITED STATES OF
             AMERICA, et al.,
10
                              Defendants.
11                                           /
12
13
14
15
          VIDEOCONFERENCE DEPOSITION OF:          PATRICIA A. GROGAN
16                                   30(b)(6)
              FOR FLORIDA'S DEPARTMENT OF CHILDREN AND FAMILIES
17
18                                 Pages 1 - 125
19        DATE TAKEN:         Friday, July 22, 2022
20        TIME:               10:08 a.m. - 2 p.m.
21
22
23
24        REPORTED BY:        THERESA GARRITY, RMR, CRR
                              and Notary Public
25        Job No. CS5298312

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1        what the parameters of the services are.            I can tell

2        you it's for the period of the emergency.            To give an

3        example, if you're in a car accident and need surgery,

4        the surgery will be covered.         If you need to go into a

5        nursing home, a nursing home is not covered.             It's the

6        emergent situation.       That includes childbirth.

7        Childbirth is deemed to be an emergency under emergency

8        Medicaid.

9                 Q.    So, in this case, there are a number of

10       immigration terms thrown around.          One group of

11       noncitizens that are at issue are what we call

12       applicants for admission.        Are you familiar with that

13       term?

14                A.    Yes.

15                Q.    Do you know whether applicants for

16       admission qualify for full Medicaid under the guide as

17       is laid out by the state?

18                A.    Not as applicants for admission, but, in

19       certain categories, there are individuals who are --

20       who are considered applicants for admission, but also

21       have another status that would make them eligible that

22       are specific status.

23                      For example, Cubans, nationals of Cuba or

24       Haiti, who are applicants for asylum in removal

25       proceedings or parole are eligible for not only

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1        Medicaid, but also -- or other public benefits, TANF,

2        as well as the refugee cash and assistance programs,

3        while they may be applicants for admission as well.

4                 Q.    Do you know if applicants for admission

5        from other countries outside of Cuba and Haiti also

6        qualify for those benefits?

7                 A.    It's been a moving target in the last

8        couple of years.       So parolees from Afghanistan meeting

9        certain criteria, as well as humanitarian parolees from

10       Ukraine are also eligible.

11                      Additionally, victims of human trafficking

12       meeting certain criteria are also eligible for

13       assistance.

14                Q.    Parolees generally, so parolees from

15       Central American countries, would they be eligible?

16                A.    No.

17                Q.    An applicant for admission from --

18                A.    Wait.    Let me -- hold on.          Let me correct

19       that.    Parolees who are paroled for a period of more

20       than a year or two -- I don't know.

21                Q.    That's fine.

22                A.    I told you this was complicated.

23                Q.    It sounds very complicated.

24                A.    Page 23:    Parolees who are paroled under

25       212(d)(5) are eligible for -- yes, are eligible for

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1        more than a year.         If they were admitted prior to

2        8/22/96 are eligible for temporary cash assistance and

3        Medicaid and for food assistance if five years have

4        passed.        So, in this case, all of them would.

5                          If they're admitted after 8/22/96, only

6        after five years since they were granted parole status

7        are they eligible for food assistance, cash assistance

8        or Medicaid.

9                  Q.      And for the group that is eligible after

10       five years, is that also referring to specifically

11       Cubans and Haitians?

12                 A.      No.   That's all parolees admitted on or

13       after 8/22/96.

14                 Q.      Noncitizens who are released under other

15       mechanisms then paroled in order of recognizance, would

16       they qualify for Medicaid under the guide?

17                 A.      They would qualify for emergency Medicaid

18       potentially if they meet all the other eligibility

19       criteria.        And Cuban and Haitian entrant, if you're

20       ROR, you're considered to be in removal proceedings,

21       then you would be eligible under that -- under the

22       Cuban/Haitian entrant category.

23                 Q.      And noncitizens who have removal

24       proceedings generally outside of the Cubans and

25       Haitians, do they qualify?

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1                        There is a component of ancillary services,

2        by which I mean, you know, assistance in terms of

3        nonmedical needs, housing or other services that can be

4        provided to qualified individuals through the TANF

5        program.      And in order to be eligible for the TANF

6        program, you need to meet the TANF immigration

7        requirements.

8                        So absent that funding stream for those

9        particular individuals, immigration status is not

10       generally a factor of providing assistance.

11                Q.     So the Department of Children and Families

12       is unable to say whether any of the individuals

13       receiving these community-based and privatized services

14       are applicants for admission encountered at the

15       Southwest border released by the federal government --

16                A.     The Department is unable to provide

17       information on individuals who are -- who meet that

18       criteria, yes.

19                Q.     And then I believe you mentioned that

20       substance abuse and mental health also provides

21       services for institutionalized population?

22                A.     Yes.

23                Q.     And are there -- does the Department of

24       Children and Families actually have mental institutions

25       that it operates?

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1        are able to provide a total number of bed days.

2                  Q.   And when they go through files, what -- how

3        do the files determine whether somebody is a

4        noncitizen?

5                  A.   They identify -- they start trying to

6        identify by a Social Security.          They contact the Social

7        Security Data Exchange System to identify based on a

8        patient's Social Security number.          And if a patient

9        doesn't have or is unable to identify a Social Security

10       number, they are categorized as noncitizens.             They do

11       not have any more detailed information on noncitizen

12       status.

13                 Q.   If a noncitizen had a Social Security

14       number, like, you know, a green cardholder, for

15       example, would they come up as -- would they still come

16       up as a noncitizen in that system?

17                 A.   My understanding, no.       And they had

18       excluded from this patients who refused to provide

19       information, not can't provide information, but refused

20       to provide information.

21                 Q.   So those people would not be included in

22       this number?

23                 A.   Correct.

24                 Q.   So on the information for the noncitizens

25       in these institutions, is the Department able to

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1        indicate whether these noncitizens are applicants for

2        admission encountered at the Southwest border and

3        released by the federal government pending their

4        immigration proceedings?

5                 A.    No.

6                 Q.    There was mentioned in one of the

7        Interrogatory responses -- and I can pull this up if we

8        need more reference -- that treatment of noncitizens

9        can prevent or delay treatment for legal residents of

10       the State of Florida.       Does that sound familiar?

11                A.    I believe I recall that there's an

12       indication that there are waiting lists for entry into

13       the institutions, and the -- so any increase in

14       admissions to the institutions would then impact

15       waiting lists.

16                Q.    Are there constantly people on the waiting

17       list?

18                A.    I can't answer over a long period of time.

19       I can tell you there are currently people on the

20       waiting list.

21                Q.    And can the Department determine who on the

22       waiting list is a noncitizen versus not a noncitizen?

23                A.    I did not ask that question to date.

24                Q.    Okay.    I'm done with this document.         You

25       had mentioned OCW before.        That's the Office of Child

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1        residential admissions and nonresidential admissions.

2        Admissions to what?

3                 A.    Generally, a domestic violence center.

4                 Q.    And is that an inpatient sort of setting?

5                 A.    They would not use that terminology.           It's

6        a housing facility for individuals who are claiming

7        domestic violence generally.         For the residential

8        components, others would be people who came in there

9        who are not going to be staying there.

10                Q.    And what is the time range of the housing

11       that would be offered by these programs?

12                A.    I don't have that information.         And it may

13       vary from program to program.

14                Q.    So the next sentence after listing out all

15       these programs is "DCF provides these services

16       regardless of immigration status."           Is that accurate?

17                A.    Yes.

18                Q.    So DCF doesn't know whether any of the

19       recipients of these programs are noncitizens?

20                A.    The Department or its providers do not

21       capture or maintain information on immigration or

22       citizenship status.

23                Q.    And then so DCF, the next sentence, does

24       not know whether these recipients are applicants for

25       admission encountered at the Southwest border and

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1        released by the federal government pending pursuit of

2        asylum or removal proceedings.          Is that correct?

3                  A.   That is correct.

4                  Q.   I'll take that down.       So I believe you

5        mentioned before that the Department has its own

6        internal store house of citizenship immigration that it

7        maintains?

8                       MR. FARUQUI:     Object to form.

9                  A.   The Office of Economic Self-Sufficiency

10       through its system that is used to determine

11       eligibility for the major public benefits programs

12       maintains and stores information related to immigration

13       status.

14                      A component of that storage is a data

15       warehouse that essentially freezes information at

16       various points because other information is constantly

17       updated.

18                 Q.   And can other components outside of OSS I

19       believe access that store house?

20                      MR. FARUQUI:     Object to form.

21                 A.   The data warehouse, I don't know that.           I

22       don't know the answer to that question whether anybody

23       has access to the data warehouse.

24                      Generally, what is -- there are individuals

25       who are charged with obtaining information from the

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Page 21 line 6-7
Change “4.4, 4.5 million” to “2.6 million”
Reason: Number provided represents Medicaid recipients determined by DCF, not SNAP recipients.

Page 23 line 9
Change “maintenance record” to “maintenance of effort”
Reason: Transcription error

Page 39 line 5
Change “Asians” to “Haitians”
Reason: Transcription error.

Page 41 line 9-10
Change “A family of two I think is $300 and a family of three is $335” to “A family of 3 is $303 and a
family of 3.5 is $334”
Reason: Correction.

Page 51 line 8
Change “a tense review” to “an intense review”
Reason: Transcription error.

Page 53 line 16
Change “eServices” to “Services”
Reason: Transcription error

Page 58 line 13
Change “Yes” to “no”
Reason: Incorrect answer. An individual in removal proceedings released on recognizance would not be
considered lawfully residing.

Page 63 line 6
Change “age of dependent children” to “aid to dependent children”
Reason: Transcription error.

Page 63 line 13
Change “TCL” to “TCA”
Reason: Transcription error.

Page 68 line 3 and 5
Change “IV-B” to “Title IV-E”
Reason: Transcription error

Page 85 line 18
Change “OSS” to “ESS”
Reason: Transcription error
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Page 106 line 2
“The Department doesn’t contract for foster homes” to “The Department doesn’t contract for foster
homes for Unaccompanied Alien Children.”
Reason: Clarification.

Page 107 line 10
There has been a determination that due to a lack of a cooperative agreement that there is no evidence of
need and therefore licenses will not be renewed and/or initial application will be denied.
Reason: Clarification
